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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :
               v.                            :      Case No. 21-CR-312-JEB
                                             :
BRADLEY STUART BENNETT,                      :
                                             :
                      Defendant.             :

                       UNOPPOSED MOTION FOR ADOPTION OF
                      PREVIOUSLY ISSUED PROTECTIVE ORDER

       The United States of America hereby respectfully moves the Court for the adoption of the

previously issued Protective Order (ECF No. 84) governing the production of discovery by the

party in the above-captioned case as to the newly appointed and undersigned defense counsel. The

previous agreement was between the government and the recently withdrawn defense counsel.

ECF Nos. 83-86, MINUTE ORDER (March 15, 2023). The United States and the newly appointed

counsel for defendant (ECF Nos. 87-88) have reached an agreement to adopt the previous

Protective Order. Therefore, the United States is authorized to represent to the Court that newly

appointed counsel does not oppose this motion or the entry of MINUTE ORDER noticing the

same. It is the parties’ intent and recommendation that the defendant’s prior acceptance of the

Protective Order (ECF No. 84, p. 7) remains in effect.

       Respectfully submitted,

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                                                  /s/ Leza Lee Driscoll
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